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Alisha Holland

From:                       David M. Caves <dcaves@bradleyriley.com>
Sent:                       Thursday, April 22, 2021 4:46 PM
To:                         Alisha Holland
Cc:                         David Turner; Dean Fuchs; Raymond R. Rinkol Jr.; James W. Cobb; Ryan S. Fisher; Sarah Brewerton-
                            Palmer
Subject:                    RE: FIMIC, SrL v. ADG Solutions, Inc.; CAFN 1:19-cv-05636-SDG / request for discovery telephone
                            conference



 CAUTION - EXTERNAL:
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Dear Ms. Holland,

Plaintiff FIMIC, S.r.L. provides the following brief statement in response to Mr. Fuchs’ request
for an additional telephone conference with the Court:

InaccordancewiththeCourt’sFebruary26,2021Order(ECFNo.58),FIMICsupplementeditsresponsesto
InterrogatoryNos.3,4,5,6,andRevisedNo.10byMarch12,2021.PursuanttotheCourt’sorderand
consistentwiththetelephoneconferencethatsameday,FIMIC’ssupplementalanswersprovidesubstantive
responsestotheinterrogatoriesatissue.

PursuanttoFed.R.Civ.P.33(d),certainresponsesreferencebusinessrecordsproducedinconjunctionwith
theinterrogatoryresponses.Forthoseresponses,FIMICdirectedADGtothespecificrecordsresponsivetothe
interrogatories.SeeFed.R.Civ.P.33(d)(1).Forexample,InterrogatoryNo.3requestsinformationrelatedto
FIMIC’spatents(includingthepatentnumber,typeofpatent,andduration).FIMICrespondedbyproducing
copiesoftheapplicablepatentsanddirectingADGtothosedocumentsbyreferencingtheBatesnumbers.

Whereapplicable,FIMICdesignatedcertaininformationCONFIDENTIALorHIGHLYCONFIDENTIALpursuantto
theJointStipulatedProtectedOrder,enteredbytheCourtonMay26,2020.(ECFNo.41.)
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Notably,ADG’sRule30(b)(6)depositionnoticelargelymirrorsitsinterrogatoryrequests.Asdiscussedwith
counsel,FIMICdoesnotobjecttothematterssetforexaminationintheRule30(b)(6)deposition.Accordingly,
ADGhastheopportunitytoexamineFIMIC’scorporaterepresentativeonthematterscoveredbythe
depositionnotice.

Sincerely,

                 DavidȱM.ȱCaves,ȱShareholderȱ
                 BradleyȱRileyȱJacobsȱPC
               ȱȱ320ȱW.ȱOhioȱStreet,ȱSuiteȱ3W,ȱChicago,ȱILȱ60654
                 Direct:ȱ(312)ȱ810Ȭ4122
           ȱ
                 BradleyRileyJacobs.com|ȱLinkedIn
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